      Case: 1:19-cv-08068 Document #: 1 Filed: 12/10/19 Page 1 of 38 PageID #:1




                         IN THE UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION


MARK S., on behalf of himself and as parent and       )
guardian of his minor child, A.S., and on behalf      )
of all other similarly situated individuals,          )
                                                      )   Case No. _________________
       Plaintiff,                                     )
                                                      )
v.                                                    )   CLASS ACTION COMPLAINT
                                                      )
COLLEGE BOARD,                                        )   JURY TRIAL DEMANDED
                                                      )
       Defendant.                                     )   INJUNCTIVE RELIEF DEMANDED
                                                      )
                                                      )
                                                      )
                                                      )
                                                      )

                                CLASS ACTION COMPLAINT

       Plaintiff Mark S., on behalf of himself and as parent and guardian of his minor child,

A.S., and on behalf of all other similarly situated individuals (“Plaintiff”), by and through his

attorneys, brings this Class Action Complaint against Defendant College Board and makes the

following allegations based upon knowledge as to himself and the acts of himself and his minor

child, and upon information and belief as to all other matters, as follows:

                                       INTRODUCTION

       1.      Every year, hundreds of thousands of students in Illinois and millions of students

across the United States take one or more standardized tests provided by Defendant College

Board – including, the SAT, PSAT/NMSQT, PSAT 10, PSAT 8/9 and Advanced Placement

Exams (“AP Exams”) (collectively, the “Standardized Tests”). While students were made to

believe the results of these tests would significantly impact their futures, to Defendant College



                                                 1
      Case: 1:19-cv-08068 Document #: 1 Filed: 12/10/19 Page 2 of 38 PageID #:1




Board the tests served a wholly different purpose – i.e., to obtain highly valuable personal

student information.   Defendant College Board obtained the students’ personal information

through the use of unfair and deceptive practices such as: (a) misrepresenting that it did not sell

the information; (b) falsely claiming that the personal information would “[g]uide your

counselors in helping you plan your future”; and (c) preying on students’ hopes and fears by

making it appear that providing the information could assist with college acceptance and

financial aid while not providing the information would be detrimental to those goals – when in

fact, neither scenario was true. As Defendant College Board has admitted, whether a student

provided the information did not impact his chance of being accepted into colleges or scholarship

programs in any way.

       2.      Defendant College Board’s practices have injured Plaintiffs and class and sub-

class members (collectively, “Class Members”) in numerous ways, including by:

               a.   Diminishing the value of the personal information of Plaintiff and Class

                    Members;

               b.   Invading Plaintiff’s and Class Members’ privacy;

               c.   Depriving Plaintiff and Class Members of the ability to control the sale of

                    personal information of students under the age of sixteen;

               d.   Depriving Plaintiff and Class Members of their right to control and to

                    choose how to use their identities for commercial purposes;

               e.   Inhibiting the ability of Plaintiff and Class Members to control the

                    information colleges, universities and other third parties received about

                    them;




                                                2
      Case: 1:19-cv-08068 Document #: 1 Filed: 12/10/19 Page 3 of 38 PageID #:1




               f.   Precluding Plaintiff and Class Members from conditioning Defendant

                    College Board’s sale of their personal information on an agreement to

                    provide Plaintiff and Class Members with a portion of the proceeds;

               g.   Causing Plaintiff and Class Members to incur the costs associated with

                    spending time to decipher whether solicitations made by third-party

                    organizations were genuine or solely attempts to obtain money from

                    Plaintiff and Class Members based on information third-party organizations

                    purchased from Defendant College Board; and

               h.   Releasing, transferring, disclosing and disseminating students’ private,

                    confidential and sensitive school student records to third parties in violation

                    of state law.

       3.      Plaintiff retains a significant interest in ensuring that his minor child’s personal

information, which remains in Defendant College Board’s possession, is protected from further

unlawful sales and use, and he seeks to remedy the harms suffered as a result of College Board’s

improper conduct for himself and on behalf of similarly situated persons whose personal

information was improperly used.

       4.      Plaintiff, on behalf of himself and on behalf of all other similarly situated persons,

seeks to recover damages, including statutory and punitive damages; equitable relief, including

injunctive relief designed to prevent Defendant College Board from selling students’ personal

information and the resulting injuries and to require College Board to recover all of the personal

information and school student records it has unlawfully and improperly sold, released,

transferred, disclosed and disseminated; restitution; disgorgement; reasonable attorney’s fees,

costs and expenses; and all other remedies this Court deems proper.



                                                 3
       Case: 1:19-cv-08068 Document #: 1 Filed: 12/10/19 Page 4 of 38 PageID #:1




                                             PARTIES

        5.       Plaintiff Mark S., individually and as parent and legal guardian for his minor child

A.S., is an Illinois resident. At relevant times, A.S. was under the age of sixteen and attended a

school within the Chicago Public School District in Illinois. Between in or about October 2018

and October 2019, A.S. registered for and took various standardized tests offered by Defendant

College Board, including the PSAT/NMSQT, multiple AP Exams and the PSAT 9. A.S. took the

tests in Illinois.

        6.       Defendant College Board is a not-for-profit membership association chartered in

the State of New York with a principal place of business in New York and its Midwest regional

office in Chicago, Illinois. College Board does business throughout the United States, including

in the Northern District of Illinois.      College Board earns substantial revenues and highly

compensates its top executives. In 2017, College Board’s President and CEO received total

compensation in excess of $1.5 million, while its Chief Operating Officer and Chief of Global

Policy, Advocacy & Communications received total compensation of nearly $1 million and

$630,000, respectively. At relevant times, Defendant College Board offered and administered

the Standardized Tests to students, including Plaintiffs and Class Members. Between

approximately 2016 and the present, Defendant College Board has contracted with the Illinois

State Board of Education to provide the SAT and various PSAT exams to Illinois high school

students at a cost of almost $32 million. In 2018, over five million students took a PSAT exam,

over two million students took the SAT and over two million students took an AP Exam.

                                  JURISDICTION AND VENUE

        7.       This Court has jurisdiction pursuant to 28 U.S.C. § 1332(d)(2) (the “Class Action

Fairness Act”) because sufficient diversity of citizenship exists between the parties in this action,



                                                  4
      Case: 1:19-cv-08068 Document #: 1 Filed: 12/10/19 Page 5 of 38 PageID #:1




the aggregate amount in controversy exceeds $5,000,000, exclusive of interests and costs, and

there are 100 or more members of the Classes. This Court has supplemental jurisdiction over the

state law claims pursuant to 28 U.S.C. § 1367.

       8.      This Court has personal jurisdiction over Defendant College Board because it is

authorized to do business in this District and regularly conducts business in this District, has

sufficient minimum contacts with this state and/or sufficiently avails itself of the markets of this

state through its promotion, sales, licensing and marketing within this state. College Board

purposely availed itself of the laws of Illinois, and engaged and is engaging in conduct that has

and had a direct, substantial, reasonably foreseeable and intended effect of causing injury to

persons throughout the United States, including persons College Board knew or had reason to

know are located in Illinois (including in this District). College Board’s practice of selling the

personal information of non-Illinois residents has caused and proximately caused harm in Illinois

and to Illinois residents by enabling colleges and universities to expand their nationwide

recruiting efforts: (a) making it more difficult for Illinois residents to gain admission to those

colleges and universities; and (b) resulting in Illinois residents leaving Illinois for their post-

secondary education. The out-migration described in the preceding sentence has contributed to a

decrease in Illinois’ population, the loss of future workforce talent and tax revenue in Illinois,

and the recent loss of a federal congressional seat.

       9.      Venue is proper in this District pursuant to 28 U.S.C. § 1391(b)(1) and (2)

because the unlawful conduct alleged in this Class Action Complaint occurred in, was directed to

and/or emanated in part from this District.




                                                  5
      Case: 1:19-cv-08068 Document #: 1 Filed: 12/10/19 Page 6 of 38 PageID #:1




                                 FACTUAL ALLEGATIONS

I.     Defendant College Board’s Standardized Tests

       10.     At relevant times, Defendant College Board offered and administered to students

a series of standardized tests referred to as “The SAT Suite of Assessments,” which was

comprised of the SAT, PSAT/NMSQT, PSAT 10 and PSAT 8/9.

       11.     According to Defendant College Board, the SAT Suite of Assessments “is an

integrated system of tests that measure what students are learning in class, and what they need to

succeed in college.”

       12.     According to Defendant College Board, the PSAT 8/9 set a readiness baseline for

students; the PSAT/NMSQT and PSAT 10 allowed for a check-in on student progress; and the

SAT connected students to college.

       13.     Defendant College Board also offered high-school students a “college-level

academic experience” that culminated in an AP Exam for the subject area in which a student

took a class – e.g., AP U.S. History or AP Physics. Each AP Exam was standardized. For the

2018-2019 school year each AP Exam cost $94.

       14.     Students were led to believe that their level of performance on the Standardized

Tests offered and administered by Defendant College Board would significantly impact their

futures, thereby placing students taking the exams under intense pressure and stress.

II.    Defendant College Board’s Student Search Service

       15.     In connection with the “Preadministration” process for the Standardized Tests,

Defendant College Board offered and promoted to students a separate product called Student

Search Service.




                                                6
      Case: 1:19-cv-08068 Document #: 1 Filed: 12/10/19 Page 7 of 38 PageID #:1




       16.     Student Search Service was a product that allowed Defendant College Board to

obtain and sell students’ personal information without the necessary consents.         Between

September 1, 2016 through the present, Defendant College Board charged between $0.42 and

$0.47 per student name sold to a third-party organization.

       17.     In connection with Student Search Service, Defendant College Board collected

the following information from students who took the AP Exams: (a) name; (b) birthdate; (c)

email address; (d) home address; (e) expected high school graduation date; (f) grade point

average; (g) gender; (h) ethnicity; and (i) parents’ educational backgrounds. In addition to the

information described in the preceding sentence, in connection with Student Search Service,

College Board obtained the following information from students who took the PSAT/NMSQT

and PSAT 10: (a) intended college major and (b) parents’ military backgrounds. In addition to

the information College Board collected from students taking AP Exams, the PSAT/NMSQT and

PSAT 10, in connection with Student Search Service, College Board obtained the following

information, among other information, from students who took the SAT: (a) citizenship status;

(b) religious preference; (c) parental income; (d) high school courses and activities, including

participation in religious activities or clubs; and (e) interest in the ROTC.

       18.     At relevant times, Defendant College Board used unfair and deceptive means to

obtain the above-described personal information from students, including:

               a.    Misrepresenting in Defendant College Board’s publications titled “Our

                     Commitment to Student Data Privacy” and “Data Privacy Overview” that it

                     did not sell student data or information;




                                                  7
Case: 1:19-cv-08068 Document #: 1 Filed: 12/10/19 Page 8 of 38 PageID #:1




       b.     Making it appear as if participation in Student Search Service was voluntary

              while proactively engaging in conduct Defendant College Board knew

              would lead to students’ participation, such as:

               i.   “Strongly recommend[ing]” in the Student Answer Sheet Instructions

                    to the SAT, PSAT/NMSQT and PSAT 10 that students answer all of

                    the Student Search Service questions under the false pretense that

                    provision of the information “[g]uide[s] your counselors in helping

                    you plan your future”;

             ii.    Directing AP Exam proctors and teachers in a document titled “AP

                    Preadministration Instructions” to “[e]ncourage your students to

                    answer ‘Yes’” to the question regarding whether students want to

                    participate in Student Search Service;

            iii.    Directing SAT, PSAT/NMSQT and PSAT 10 exam proctors and

                    teachers in written materials provided by Defendant College Board in

                    connection with the administration of the exams to provide

                    instructions regarding Student Search Service that falsely made it

                    appear as if declining to participate in the service could lead to dire

                    consequences, such as missing out on financial aid opportunities; and

            iv.     Preying on students’ hopes and fears by making it appear that

                    providing the information could assist with college acceptance and

                    financial aid while not providing the information would be detrimental

                    to those goals – when in fact, neither scenario was true; and




                                          8
       Case: 1:19-cv-08068 Document #: 1 Filed: 12/10/19 Page 9 of 38 PageID #:1




               c.   Concealing from students that Defendant College Board’s true purpose in

                    obtaining the personal information was to sell it to third party organizations

                    in order to increase its already substantial revenues.

        19.    After obtaining students’ personal information, Defendant College Board held out

the identities of students (e.g., names and email addresses) who participated in Student Search

Service, including the identities of Plaintiffs and Class Members, on or in connection with

offering Student Search Service for sale to third parties for the purpose of advertising and

promoting Student Search Service.

III.    Defendant College Board’s Sale of Students’ Personal Information

        20.    Notwithstanding Defendant College Board’s representations to the contrary,

Defendant College Board routinely sold students’ personal information to third parties in

connection with its Student Search Service.

        21.    Indeed, during a May 2019 Illinois Senate legislative hearing, a representative of

Defendant College Board testified that College Board sells access to student data for $0.45 per

student.

        22.    Further, while Defendant College Board allowed students who participated in

Student Search Service to later opt out, it made clear in its written materials that opting out

would not stop entities that previously received the students’ personal information from

continuing to send solicitations – a tacit acknowledgment of College Board’s data sales.

        23.    Moreover, in May 2018, the United States Department of Education’s Privacy

Technical Assistance Center published “significant guidance” in which it found that Defendant

College Board and another standardized testing company “use completed surveys to develop




                                                9
      Case: 1:19-cv-08068 Document #: 1 Filed: 12/10/19 Page 10 of 38 PageID #:1




tailored lists of students, which the testing companies then sell to institutions of higher education

(IHEs), scholarship organizations, and other organizations.”

        24.     Additionally, in July 2018, the Future of Privacy Forum and the Software &

Information Industry Association – two organizations funded by the technology industry –

downgraded Defendant College Board’s status as a signatory to a Student Privacy Pledge that

addressed data privacy practices to “under review” based on concerns about College Board’s

information usage practices.

IV.     Market for Data

        25.     Several online companies allow individuals to sell their own data online.

        26.     One such company estimates that an individual can earn up $2,000 per year

selling his data.

        27.     By obtaining and selling students’ data under false pretenses, Defendant College

Board has diminished the value of students’ data.

V.      Allegations Related Plaintiff and His Minor Child

        28.     Between approximately October 2018 and October 2019, A.S. took the

PSAT/NMSQT, the PSAT 9 and three AP Exams and paid all applicable fees and costs.

        29.     In connection with the exams described in paragraph 28, above, A.S. provided

Defendant College Board with personal information consistent with that described in paragraph

17, above.

        30.     At all times, A.S. was under the age of sixteen.

        31.     On information and belief, based on publicly-available versions of Defendant

College Board’s Data Load schedules, Defendant College Board first made A.S.’s personal

information available for sale on January 7, 2019.



                                                 10
      Case: 1:19-cv-08068 Document #: 1 Filed: 12/10/19 Page 11 of 38 PageID #:1




       32.     At no time did A.S.’s parents consent to the sale of A.S.’s personal information.

       33.     At no time did A.S. or A.S.’s parents consent in writing to Defendant College

Board’s use of her identity for commercial purposes

       34.     Since taking the exams described in paragraph 28, above, A.S. has received

solicitations based on her submission of personal information to College Board.

VI.    Defendant College Board’s Failure to Comply with Illinois Law

       The Illinois School Student Records Act

       35.     Illinois public policy as set forth in the Illinois School Student Records Act, 105

ILCS § 10/1, et seq. (“ISSRA”), seeks to protect the privacy and confidentiality of Illinois school

student records by prohibiting their release, transfer, disclosure or dissemination, except in

extremely limited circumstances that do not include the release, transfer, disclosure and

dissemination of student school records engaged in by Defendant College Board.

       36.     Pursuant to ISSRA, “school student record” means “any writing or other recorded

information concerning a student by which a student may be individually identified, maintained

by a school or at its direction . . . regardless of how or where the information is stored.”

       37.     Pursuant to ISSRA, the information Defendant College Board collected about

students in connection with Student Search Service constitutes school student records.

       38.     Pursuant to ISSRA, Defendant College Board is a “school” because it is a

“person, agency or institution which maintains school student records from more than one

school.”

       39.     Pursuant to Defendant College Board’s Illinois fiscal year 2017 contract with the

Illinois State Board of Education, it agreed to comply with the relevant requirements of ISSRA

regarding the confidentiality of school student records. On information and belief, the contracts



                                                 11
     Case: 1:19-cv-08068 Document #: 1 Filed: 12/10/19 Page 12 of 38 PageID #:1




between College Board and the Illinois State Board of Education for subsequent years required

the same compliance.

       40.     In violation of ISSRA, Defendant College Board released, transferred, disclosed

and disseminated school student records.

       The Children’s Privacy Protection and Parental Empowerment Act

       41.     Illinois public policy, as set forth in the Children’s Privacy Protection and

Parental Empowerment Act, 325 ILCS § 17/1, et seq. (the “Children’s Privacy Protection Act”),

seeks to empower parents to protect their children’s personal information by preventing the sale

or purchase of the personal information of a child under sixteen without parental consent.

       42.     The Children’s Privacy Protection Act, defines a “child” as a person under the age

of sixteen. It further defines “personal information” as a person’s name, address, telephone

number or “any other information that can be used to locate or contact a specific individual.”

       43.     Pursuant to the Children’s Privacy Protection Act, the “sale or purchase of

personal information concerning an individual known to be a child without parental consent is

prohibited.”

       44.     By selling the personal information of children without parental consent,

Defendant College Board violated the Children’s Privacy Protection Act.

       The Right of Publicity Act

       45.     Illinois law also empowers individuals to control other’s use of their identities for

commercial purposes without first receiving written consent.

       46.     The Illinois Right of Publicity Act, 765 ILCS § 1075/1, et seq., recognizes that

every individual has a right of publicity – namely, “to control and to choose whether and how to

use an individual’s identity for commercial purposes.”



                                                12
       Case: 1:19-cv-08068 Document #: 1 Filed: 12/10/19 Page 13 of 38 PageID #:1




         47.      Section 5 of the Right of Publicity Act defines “commercial purpose” as the “the

public use or holding out of an individual’s identity (i) on or in connection with the offering for

sale or sale of a product . . . or services; (ii) for the purposes of advertising or promoting products

. . . or services . . . .”

         48.      Section 5 of the Right of Publicity Act defines “identity” as “any attribute of an

individual that serves to identify that individual to an ordinary, reasonable viewer or listener,

including but not limited to (i) name . . . .”

         49.      Pursuant to § 30 of the Right of Publicity Act, “a person may not use an

individual’s identity for commercial purposes during the individual’s lifetime without having

obtained previous written consent from the appropriate person or persons . . . or their authorized

representatives.”

         50.      In violation of the Right of Publicity Act, Defendant College Board used the

identities of students who participated in Student Search Service – including Plaintiffs and Class

Members – for commercial purposes without having obtained previous written consent from the

appropriate person or persons or their authorized representatives. The information provided by

College Board that allowed others to be able to identify Plaintiffs and Class Members, included

name, home address, email address and date of birth.

VII.     Plaintiff’s and Class Members’ Injuries and Damages.

         51.      As a result of Defendant College Board’s sale of students’ personal information,

Plaintiff and Class Members have suffered and will continue to suffer severe consequences, as

College Board’s conduct has, among other things:

                  a.         Diminished the value of the personal information of Plaintiff and Class

                             Members;



                                                     13
     Case: 1:19-cv-08068 Document #: 1 Filed: 12/10/19 Page 14 of 38 PageID #:1




              b.    Invaded Plaintiff’s and Class Members’ privacy;

              c.    Deprived Plaintiff and Class Members of the ability to control the sale of

                    personal information of students under the age of sixteen;

              d.    Deprived Plaintiff and Class Members of their right to control and to choose

                    how to use their identities for commercial purposes;

              e.    Inhibited the ability of Plaintiff and Class Members to control the

                    information colleges, universities and other third parties receive about them;

              f.    Precluded Plaintiff and Class Members from conditioning Defendant

                    College Board’s sale of their personal information on an agreement to

                    provide Plaintiff and Class Members with a portion of the proceeds;

              g.    Caused Plaintiff and Class Members to incur the costs associated with

                    spending time to decipher whether solicitations made by third-party

                    organizations are genuine or solely attempts to obtain money from Plaintiff

                    and Class Members based on information third-party organizations

                    purchased from Defendant College Board; and

              h.    Resulted in the release, transfer, disclosure and dissemination of students’

                    private, confidential and sensitive school records to third parties in violation

                    of state law.

       52.    Defendant College Board’s wrongful actions have directly and proximately

caused Plaintiff and Class Members to face the immediate and continuing increased risk of

economic damages and other actual harm for which they are entitled to compensation, including:

              a.      Damages to, and diminution in value of, the personal information College

                      Board obtained and sold;



                                               14
     Case: 1:19-cv-08068 Document #: 1 Filed: 12/10/19 Page 15 of 38 PageID #:1




               b.     Costs associated with reviewing and trying to stop unwanted solicitations,

                      such as time taken from the enjoyment of one’s life, and the

                      inconvenience, nuisance, cost and annoyance of dealing with the

                      unwanted solicitations; and

               c.     The loss of Plaintiff’s and Class Members’ privacy.

                                  CLASS ACTION ALLEGATIONS

       53.     Plaintiff bring this action on behalf of himself and his minor child as a class

action under Federal Rule of Civil Procedure 23, seeking damages and equitable relief on behalf

of the following nationwide Class for which Plaintiff seeks certification:

               All persons residing in the United States who took the SAT,
               PSAT/NMSQT, the PSAT 10, the PSAT 8/9 or an AP Exam and
               participated in Defendant College Board’s Student Search Service
               (the “Nationwide Class”).

       54.     Additionally, Plaintiff brings this action on behalf of the following subclass of

individuals seeking damages and relief on behalf of the following:

               All persons residing in the States of Alabama, Alaska, Arizona,
               Arkansas, California, Colorado, Connecticut, Delaware, Georgia,
               Hawaii, Idaho, Illinois, Iowa, Kansas, Kentucky, Louisiana,
               Maine, Maryland, Minnesota, Missouri, Nevada, New Hampshire,
               New Jersey, North Carolina, Ohio, Oklahoma, Oregon,
               Pennsylvania, South Dakota, Texas, Utah, Vermont, Washington
               and West Virginia who took the SAT, PSAT/NMSQT, the PSAT
               10, the PSAT 8/9 or an AP Exam and participated in Defendant
               College Board’s Student Search Service (the “Intrusion Upon
               Seclusion Class”).

       55.     Additionally, Plaintiff brings this action on behalf of an Illinois subclass seeking

damages and equitable relief on behalf of the following:

               All persons residing in the State of Illinois who took the SAT,
               PSAT/NMSQT, the PSAT 10, the PSAT 8/9 or an AP Exam and
               participated in Defendant College Board’s Student Search Service
               (the “Illinois Subclass”).

                                                15
     Case: 1:19-cv-08068 Document #: 1 Filed: 12/10/19 Page 16 of 38 PageID #:1




       56.     Additionally, Plaintiff brings this action on behalf of an Illinois subclass seeking

damages and equitable relief on behalf of the following:

               All persons under the age of sixteen and residing in the State of
               Illinois who took the SAT, PSAT/NMSQT, the PSAT 10, the
               PSAT 8/9 or an AP Exam and participated in Defendant College
               Board’s Student Search Service (the “Illinois Child Subclass”).

       57.     Excluded from the Classes are: (a) Defendant College Board; (b) any parent,

affiliate or subsidiary of Defendant College Board; (c) any entity in which Defendant College

Board has a controlling interest; (d) any of Defendant College Board’s officers or directors; or

(e) any successor or assign of Defendant College Board. Also excluded are any judge or court

personnel assigned to this case and members of their immediate families.

       58.     Plaintiff reserves the right to amend or modify the class definitions with greater

specificity or division after having had an opportunity to conduct discovery.

       59.     Numerosity. Consistent with Rule 23(a)(1), the Classes are so numerous that

joinder of all members is impracticable. While Plaintiff does not know the exact number of

members of the Classes, Plaintiff believes the Nationwide Class contains over 5 million people.

Class Members may be identified through objective means, including objective data available to

Defendant College Board regarding who participated in Student Search Service. Class Members

may be notified of the pendency of this action by recognized, Court-approved notice

dissemination methods, which may include U.S. mail, electronic mail, internet postings, social

media and/or published notice. All members of the Nationwide Class and Illinois and Illinois

Child Subclasses are readily ascertainable because College Board has access to information

regarding the identity of each student who participated in Student Search Service.

       60.     Commonality and predominance. Common questions of law and fact exist as

to all Class Members. These common questions of law or fact predominate over any questions

                                                16
     Case: 1:19-cv-08068 Document #: 1 Filed: 12/10/19 Page 17 of 38 PageID #:1




affecting only individual members of the Classes. Common questions include, but are not

limited to the following:

               a.      Whether Defendant College Board engaged in wrongful conduct as

                       alleged herein;

               b.      Whether Defendant College Board sold the personal information of

                       Plaintiff and Class Members;

               c.      Whether Defendant College Board misrepresented that it would not sell

                       the personal information of Plaintiff and Class Members;

               d.      Whether Defendant College Board obtained the personal information of

                       Plaintiff and Class Members under false pretenses;

               e.      Whether Defendant College Board invaded Plaintiff’s and Class

                       Members’ privacy;

               f.      Whether Defendant College Board obtained previous written consent to

                       use Plaintiff’s and Class Members’ identities for commercial purposes;

               g.      Whether Defendant College Board engaged in unfair or deceptive trade

                       practices by failing to disclose that it sold Plaintiff’s and Class Members’

                       personal information;

               h.      Whether Plaintiff and Class Members suffered damages as a proximate

                       result of Defendant College Board’s conduct; and

               i.      Whether Plaintiff and Class Members are entitled to damages, equitable

                       relief and other relief.

       61.     Typicality. Plaintiff’s claims are typical of the claims of the Nationwide Class,

Intrusion Upon Seclusion Class, Illinois Subclass and Illinois Child Subclass (subclasses,



                                                  17
     Case: 1:19-cv-08068 Document #: 1 Filed: 12/10/19 Page 18 of 38 PageID #:1




collectively referred to as the “Subclasses”) he seeks to represent because Plaintiff and all

members of the proposed Nationwide Class and Subclasses have suffered similar injuries as a

result of the same practices alleged herein. Plaintiff has no interests to advance adverse to the

interests of the other members of the Nationwide Class and Subclasses.

       62.     Adequacy.     Plaintiff will fairly and adequately protect the interests of the

Nationwide Class and Subclasses and have retained as their counsel attorneys experienced in

class actions and complex litigation.

       63.     Superiority. A class action is superior to other available means for the fair and

efficient adjudication of this dispute.    The injury suffered by each Class Member, while

meaningful on an individual basis, is not of such magnitude as to make the prosecution of

individual actions against Defendants economically feasible. Even if Class Members could

afford individual litigation, those actions would put immeasurable strain on the court system.

Moreover, individual litigation of the legal and factual issues of the case would increase the

delay and expense to all parties and the court system. A class action, however, presents far fewer

management difficulties and provides the benefit of single adjudication, economy of scale and

comprehensive supervision by a single court.

       64.     In the alternative, the proposed classes may be certified because:

               a.     The prosecution of separate actions by each individual member of the

                      Nationwide Class and Subclasses would create a risk of inconsistent

                      adjudications, which could establish incompatible standards of conduct for

                      Defendant College Board;

               b.     The prosecution of individual actions could result in adjudications that as

                      a practical matter would be dispositive of the interests of non-party Class



                                                18
     Case: 1:19-cv-08068 Document #: 1 Filed: 12/10/19 Page 19 of 38 PageID #:1




                       Members or which would substantially impair their ability to protect their

                       interests; and

                c.     Defendant College Board acted or refused to act on grounds generally

                       applicable to the proposed classes, thereby making final and injunctive

                       relief appropriate with respect to members of the Nationwide Class and

                       Subclasses.

       65.      Pursuant to Rule 23(c)(4) particular issues are appropriate for certification –

namely the issues described in paragraph 60, above, because resolution of such issues would

advance the disposition of the matter and the parties’ interests therein.

                                        CLAIMS FOR RELIEF

                                      COUNT ONE
                            (BREACH OF EXPRESS CONTRACT)
                                 (On behalf of all Classes)

       66.      Plaintiff restates and realleges paragraphs 1 through 65, above, as though fully set

forth herein.

       67.      Plaintiff and Class Members participated in Student Search Service based on the

express agreement that Defendant College Board would not sell their personal information (the

“Express Contract”).

       68.      In consideration for Defendant College Board’s express agreement, Plaintiff and

Class Members agreed to provide Defendant College Board with personal information.

       69.      Plaintiff and Class Members fully performed their obligations under the Express

Contract.

       70.      Defendant College Board breached the Express Contract by selling Plaintiff’s and

Class Members’ personal information to third parties.



                                                 19
     Case: 1:19-cv-08068 Document #: 1 Filed: 12/10/19 Page 20 of 38 PageID #:1




       71.      As a direct and proximate result of Defendant College Board’s breach of the

Express Contract, Plaintiff and Class Members sustained actual losses as alleged above.

       72.      Defendant College Board’s breach of the Express Contract was a direct and legal

cause of Plaintiff’s and Class Members’ injuries and damages as alleged above.

                                        COUNT TWO
                                    UNJUST ENRICHMENT
                                    (On behalf of all Classes)

       73.      Plaintiff restates and realleges paragraphs 1 through 65, above, as though fully set

forth herein.

       74.      Plaintiff and Class Members conferred a monetary benefit on Defendant College

Board – namely, they provided and entrusted their personal information to College Board.

       75.      Plaintiff and Class Members did not authorize Defendant College Board to sell, or

otherwise consent to College Board selling, their personal information.

       76.      Defendant College Board appreciated, accepted and retained the benefit bestowed

upon it under inequitable and unjust circumstances arising from College Board’s conduct toward

Plaintiff and Class Members as described herein – namely, (a) Plaintiff and Class Members

conferred a benefit on College Board, and College Board accepted or retained that benefit; and

(b) College Board used Plaintiff’s and Class Members’ personal information for business

purposes – namely, it sold the information.

       77.      Defendant College Board sold Plaintiff’s and Class Members’ personal

information and, therefore, did not provide full compensation for the benefit Plaintiff and Class

Members conferred upon College Board.




                                                 20
      Case: 1:19-cv-08068 Document #: 1 Filed: 12/10/19 Page 21 of 38 PageID #:1




       78.      Defendant College Board acquired Plaintiff’s and Class Members’ personal

information through inequitable means in that it misrepresented that it did not sell personal

information.

       79.      Plaintiff and Class Members have no adequate remedy at law.

       80.      Under the circumstances, it would be unjust and unfair for Defendant College

Board to be permitted to retain any of the benefits that Plaintiff and Class Members conferred on

it.

       81.      Under the principles of equity and good conscience, Defendant College Board

should not be permitted to retain the personal information belonging to Plaintiff and Class

Members because College Board obtained that information under false pretenses.

       82.      Defendant College Board should be compelled to disgorge into a common fund or

constructive trust, for the benefit of Plaintiff and Class Members, proceeds that it unjustly

received from the sale of Plaintiff’s and Class Members’ personal information.

                                       COUNT THREE
                             INTRUSION UPON SECLUSION
                     (On behalf of the Intrusion Upon Seclusion Subclass)

       83.      Plaintiff restates and realleges paragraphs 1 through 65, above, as though fully set

forth herein.

       84.      Plaintiff and Class Members had a legitimate expectation of privacy to their

personal information and were entitled to protection of this information against disclosure to

unauthorized third parties.

       85.      Defendant College Board owed a contractual duty to Plaintiff and Class Members

to keep their personal information confidential.




                                                   21
     Case: 1:19-cv-08068 Document #: 1 Filed: 12/10/19 Page 22 of 38 PageID #:1




       86.       Notwithstanding its clear duty, Defendant College Board sold Plaintiff’s and

Class Members’ personal information to unauthorized third parties.

       87.       By way of Defendant College Board’s conduct, it allowed unauthorized third

parties to access and examine the personal information of Plaintiff and Class Members.

       88.       The unauthorized release to, custody of and examination by unauthorized third

parties of the Plaintiff’s and Class Members’ personal information – information that contained

sensitive details regarding minor children – is highly offensive to a reasonable person.

       89.       The intrusion was into a place or thing that was private and entitled to be private.

Given Defendant College Board’s contractual duty not to sell Plaintiff’s and Class Members’

personal information, it was reasonable for Plaintiff and Class Members to believe that such

information would be kept private and confidential and would not be disclosed without their

authorization.

       90.       Defendant College Board’s sale of Plaintiff’s and Class Members’ personal

information constitutes an unauthorized intrusion or prying into Plaintiff’s and Class Members’

seclusion, and the intrusion was of a kind that would be highly offensive to a reasonable person.

       91.       Defendants acted with a knowing state of mind when they sold Plaintiff’s and

Class Members’ personal information.

       92.       As a direct and proximate result of the above acts and omissions of Defendant

College Board, the personal information of Plaintiff and Class Members was disclosed to third

parties without authorization, causing Plaintiff and Class Members to suffer damages, anguish

and suffering.

       93.       Unless and until enjoined and restrained by order of this Court, Defendant

College Board’s wrongful conduct will continue to cause great and irreparable injury to Plaintiff



                                                  22
     Case: 1:19-cv-08068 Document #: 1 Filed: 12/10/19 Page 23 of 38 PageID #:1




and Class Members in that the personal information sold by College Board can be viewed and

used by unauthorized persons. Plaintiff and Class Members have no adequate remedy at law for

the injuries in that a judgment for monetary damages will not end the invasion of privacy for

Plaintiff and Class Members or require College Board to retrieve the personal information from

the unauthorized entities to which it was sold.

                                        COUNT FOUR
                             INTRUSION UPON SECLUSION
                    (On behalf of the Illinois and Illinois Child Subclasses)

       94.      Plaintiff restates and realleges paragraphs 1 through 65, above, as though fully set

forth herein.

       95.      Plaintiff and Class Members had a legitimate expectation of privacy to their

school student records and personal information and were entitled to protection of this

information against disclosure to unauthorized third parties.

       96.      Defendant College Board owed a contractual and statutory duty to Plaintiff and

Class Members to keep their school student records and personal information confidential.

       97.      Notwithstanding its clear duties, Defendant College Board sold, released,

transferred, disclosed and disseminated Plaintiff’s and Class Members’ school student records

and personal information to unauthorized third parties.

       98.      By way of Defendant College Board’s conduct, it allowed unauthorized third

parties to access and examine the school student records and personal information of Plaintiff

and Class Members.

       99.      The unauthorized release to, custody of and examination by unauthorized third

parties of the Plaintiff’s and Class Members’ school student records and personal information –




                                                  23
     Case: 1:19-cv-08068 Document #: 1 Filed: 12/10/19 Page 24 of 38 PageID #:1




information that contained sensitive details regarding minor children – is highly offensive to a

reasonable person.

       100.   The intrusion was into a place or thing that was private and entitled to be private.

Given Defendant College Board’s statutory and contractual duties not to sell, release, transfer,

disclose or disseminate Plaintiff’s and Class Members’ school student records and personal

information, it was reasonable for Plaintiff and Class Members to believe that such information

would be kept private and confidential and would not be disclosed without their authorization.

       101.   Defendant College Board’s sale, release, transfer, disclosure and dissemination of

Plaintiff’s and Class Members’ school student records and personal information constitutes an

unauthorized intrusion or prying into Plaintiff’s and Class Members’ seclusion, and the intrusion

was of a kind that would be highly offensive to a reasonable person.

       102.   Defendants acted with a knowing state of mind when they sold, released,

transferred, disclosed and disseminated Plaintiff’s and Class Members’ school student records

and personal information.

       103.   As a direct and proximate result of the above acts and omissions of Defendant

College Board, the school student records and personal information of Plaintiff and Class

Members was disclosed to third parties without authorization, causing Plaintiff and Class

Members to suffer damages, anguish and suffering.

       104.   Unless and until enjoined and restrained by order of this Court, Defendant

College Board’s wrongful conduct will continue to cause great and irreparable injury to Plaintiff

and Class Members in that the school student records and personal information sold, released,

transferred, disclosed and disseminated by College Board can be viewed and used by

unauthorized persons. Plaintiff and Class Members have no adequate remedy at law for the



                                               24
     Case: 1:19-cv-08068 Document #: 1 Filed: 12/10/19 Page 25 of 38 PageID #:1




injuries in that a judgment for monetary damages will not end the invasion of privacy for

Plaintiff and Class Members or require College Board to retrieve the personal information from

the unauthorized entities to which it was sold.

                                         COUNT FIVE
                           BREACH OF EXPRESS CONTRACT
                    (On behalf of the Illinois and Illinois Child Subclasses)

         105.   Plaintiff restates and realleges paragraphs 1 through 65, above, as though fully set

forth herein.

         106.   Between Illinois fiscal years 2017 and the present, Defendant College Board and

the Illinois State Board of Education entered into a series of written contracts that each required

College Board to provide the SAT, PSAT 10 and PSAT 8/9 to eligible Illinois students,

including Plaintiff and Class Members (the “Express Contract”).

         107.   As consideration for Defendant College Board providing the SAT, PSAT 10 and

PSAT 8/9 to eligible Illinois students, the State of Illinois paid a yearly contract fee to College

Board.

         108.   The parties to the Express Contract intended Plaintiff and Class Members to

directly benefit from the Express Contract, as the purpose of the testing was to determine if

students were meeting their educational goals and, if not, to determine what educational supports

were needed.

         109.   Plaintiff and Class Members are third-party beneficiaries of the Express Contract.

         110.   On information and belief, the Illinois State Board of Education fully performed

its obligations under the Express Contract.

         111.   By unlawfully releasing, transferring, disclosing and disseminating student school

records in violation of ISSRA, Defendant College Board breached the Express Contract.



                                                  25
     Case: 1:19-cv-08068 Document #: 1 Filed: 12/10/19 Page 26 of 38 PageID #:1




       112.     As a direct and proximate result of Defendant College Board’s breach of the

Express Contract, Plaintiff and Class Members sustained actual losses as alleged above.

       113.     Defendant College Board’s breach of the Express Contract was a direct and legal

cause of Plaintiff’s and Class Members’ injuries and damages as alleged above.

                                          COUNT SIX
                      ILLINOIS SCHOOL STUDENT RECORDS ACT
                                    105 ILCS 10/1, et seq.
                    (On behalf of the Illinois and Illinois Child Subclasses)

       114.     Plaintiff restates and reallages paragraphs 1 through 65, above, as though fully set

forth herein.

       115.     As alleged in paragraphs 35 to 40, above, Defendant College Board violated

ISSRA by unlawfully releasing, transferring, disclosing and disseminating school student

records.

       116.     Defendant College Board’s violation of ISSRA was willful or, pleaded in the

alternative, negligent.

       117.     As a direct and proximate result of Defendant College Board’s violations of

ISSRA, Plaintiff and members of the Illinois and Illinois Child Subclasses have suffered and will

continue to suffer injury, ascertainable losses of money or property and monetary and non-

monetary damages.

       118.     Unless and until enjoined and restrained by order of this Court, Defendant

College Board’s wrongful conduct will continue to cause great and irreparable injury to Plaintiff

and Class Members in that the school student records that College Board unlawfully released,

transferred, disclosed and disseminated can be viewed and used by unauthorized persons.

Plaintiff and Class Members have no adequate remedy at law for the injuries in that a judgment

for monetary damages will not end the invasion of privacy for Plaintiff and Class Members or

                                                 26
     Case: 1:19-cv-08068 Document #: 1 Filed: 12/10/19 Page 27 of 38 PageID #:1




require College Board to retrieve the school student records from the unauthorized entities to

which it was unlawfully released, transferred, disclosed and disseminated.

       119.     Plaintiff and Illinois Child Subclass Members seek relief under 105 ILCS § 10/9

for the harm they suffered because of Defendant College Board’s violations of ISSRA, including

actual damages, restitution, injunctive relief and reasonable attorneys’ fees and costs.

                                       COUNT SEVEN
                               RIGHT OF PUBLICITY ACT
                                   765 ILCS § 1075/1, et seq.
                    (On behalf of the Illinois and Illinois Child Subclasses)

       120.     Plaintiff restates and realleges paragraphs 1 through 65, above, as though fully set

forth herein.

       121.     Plaintiff and Class Members are persons under the Right of Publicity Act.

       122.     As alleged in paragraphs 45 to 50, above, Defendant College Board violated the

Right of Publicity Act.

       123.     Defendant College Board’s violation of the Right of Publicity Act was willful.

       124.     As a direct and proximate result of Defendant College Board’s willful violations

of the Right of Publicity Act, Plaintiff and members of the Illinois and Illinois Child Subclasses

have suffered and will continue to suffer injury, ascertainable losses of money or property and

monetary and non-monetary damages.

       125.     Plaintiff and members of the Illinois and Illinois Child Subclasses seek as

monetary relief the greater of: (a) actual damages, profits derived from the unauthorized use of

Plaintiff and Subclass Members’ identities, or both; or (b) $1,000 for each violation of the Right

of Publicity Act.

       126.     Unless and until enjoined and restrained by order of this Court, Defendant

College Board’s wrongful conduct will continue to cause great and irreparable injury to Plaintiff

                                                 27
     Case: 1:19-cv-08068 Document #: 1 Filed: 12/10/19 Page 28 of 38 PageID #:1




and Class Members in that the personal information sold by College Board can be viewed and

used by unauthorized persons. Plaintiff and Class Members have no adequate remedy at law for

the injuries in that a judgment for monetary damages will not end the invasion of privacy for

Plaintiff and Class Members or require College Board to retrieve the personal information from

the unauthorized entities to which it was sold.

        127.     Plaintiff and members of the Illinois and Illinois Child Subclasses also seek

punitive damages, injunctive relief and the reasonable attorney’s fees, costs and expenses

relating to this action.

                              COUNT EIGHT
   ILLINOIS CONSUMER FRAUD AND DECEPTIVE BUSINESS PRACTICES ACT
                          815 ILCS § 505/1, et seq.
                   (On behalf of the Illinois Child Subclass)

        128.     Plaintiff restates and realleges paragraphs 1 through 65, above, as though fully set

forth herein.

        129.     At relevant times, Defendant College Board knew that Plaintiff and members of

the Illinois Child Subclass were under the age of sixteen and, therefore, children as defined by

the Children’s Privacy Protection Act.

        130.     In violation of the Children’s Privacy Protection Act, 325 ILCS § 17/10,

Defendant College Board sold Plaintiff’s and Illinois Child Subclass Members’ personal

information without parental consent.

        131.     Pursuant to 325 ILCS § 17/20, a violation of any provision of the Children’s

Privacy Protection Act is a violation of the Illinois Consumer Fraud and Deceptive Business

Practices Act.




                                                  28
     Case: 1:19-cv-08068 Document #: 1 Filed: 12/10/19 Page 29 of 38 PageID #:1




         132.   As a direct and proximate result of Defendant College Board’s violations of 325

ILCS § 17/10, Plaintiff and Illinois Child Subclass Members suffered damages, as described

above.

         133.   Unless and until enjoined and restrained by order of this Court, Defendant

College Board’s wrongful conduct will continue to cause great and irreparable injury to Plaintiff

and Class Members in that the personal information sold by College Board can be viewed and

used by unauthorized persons. Plaintiff and Class Members have no adequate remedy at law for

the injuries in that a judgment for monetary damages will not end the invasion of privacy for

Plaintiff and Class Members or require College Board to retrieve the personal information from

the unauthorized entities to which it was sold.

         134.   Plaintiff and Illinois Child Subclass Members seek relief under 815 ILCS §

505/10(a) for the harm they suffered because of Defendant College Board’s willful violations of

325 ILCS § 17/10, including actual damages, restitution, punitive damages, injunctive relief and

reasonable attorneys’ fees and costs.

                                  COUNT NINE
   ILLINOIS CONSUMER FRAUD AND DECEPTIVE BUSINESS PRACTICES ACT
                            815 ILCS § 505/1, et seq.
               (On behalf the Illinois and Illinois Child Subclasses)

         135.   Plaintiff restates and realleges paragraphs 1 through 65, above, as though fully set

forth herein.

         136.   Defendant College Board is a “person” as defined by 815 ILCS § 505/1(c).

         137.   Defendant College Board’s conduct as alleged herein was in the conduct of

“trade” or “commerce” as defined by 815 ILCS § 505/1(f).

         138.   Defendant College Board’s deceptive, unfair and unlawful trade acts or practices,

in violation of 815 ILCS § 505/2, include:

                                                  29
Case: 1:19-cv-08068 Document #: 1 Filed: 12/10/19 Page 30 of 38 PageID #:1




        a.     Misrepresenting in Defendant College Board’s publications titled “Our

               Commitment to Student Data Privacy” and “Data Privacy Overview” that it

               did not sell student data or information;

        b.     Making it appear as if participation in Student Search Service was voluntary

               while proactively engaging in conduct Defendant College Board knew

               would lead to students’ participation, such as:

                i.   “Strongly recommend[ing]” in the Student Answer Sheet Instructions

                     to the SAT, PSAT/NMSQT and PSAT 10 that students answer all of

                     the Student Search Service questions under the false pretense that

                     provision of the information “[g]uide[s] your counselors in helping

                     you plan your future”;

              ii.    Directing AP Exam proctors and teachers in a document titled “AP

                     Preadministration Instructions” to “[e]ncourage your students to

                     answer ‘Yes’” to the question regarding whether students want to

                     participate in Student Search Service;

             iii.    Directing SAT, PSAT/NMSQT and PSAT 10 exam proctors and

                     teachers in written materials provided by Defendant College Board in

                     connection with the administration of the exams to provide

                     instructions regarding Student Search Service that falsely made it

                     appear as if declining to participate in the service could lead to dire

                     consequences, such as missing out on financial aid opportunities; and

             iv.     Preying on students’ hopes and fears by making it appear that

                     providing the information could assist with college acceptance and



                                          30
     Case: 1:19-cv-08068 Document #: 1 Filed: 12/10/19 Page 31 of 38 PageID #:1




                         financial aid while not providing the information would be detrimental

                         to those goals – when in fact, neither scenario was true; and

               c.   Concealing from students that Defendant College Board’s true purpose in

                    obtaining the personal information was to sell it to third party organizations

                    in order to increase its already substantial revenues.

               d.   Failing to comply with common law and statutory duties pertaining to the

                    sale of Plaintiffs’ and Illinois and Illinois Child Subclass Members’ personal

                    information, including duties imposed by ISSRA, 105 ILCS § 10/6; the

                    Right of Privacy Act, 765 ILCS § 1075/30; the Children’s Privacy

                    Protection Act, 325 ILCS § 17/10; and the Illinois Uniform Deceptive Trade

                    Practices Act, 815 ILCS § 510/2(a); and

               e.   Omitting, suppressing and concealing the material fact that they did not

                    comply with common law and statutory duties pertaining to the sale of

                    Plaintiff’s and Illinois and Illinois Child Subclass Members personal

                    information, including duties imposed by ISSRA, 105 ILCS § 10/6; the

                    Right of Privacy Act, 765 ILCS § 1075/30, the Children’s Privacy

                    Protection Act, 325 ILCS § 17/10, and the Illinois Uniform Deceptive Trade

                    Practices Act, 815 ILCS § 510/2(a).

       139.    Defendant College Board’s representations and omissions were material because

they were likely to deceive reasonable persons about College Board’s use of personal

information.

       140.    Defendant College Board intended to mislead Plaintiff and Illinois and Illinois

Child Subclass Members and induce them to rely on their misrepresentations and omissions.



                                                31
     Case: 1:19-cv-08068 Document #: 1 Filed: 12/10/19 Page 32 of 38 PageID #:1




       141.    The above unfair and deceptive practices and acts by Defendant College Board

were immoral, unethical, oppressive and unscrupulous. These acts caused substantial injury to

Plaintiff and Illinois and Illinois Child Subclass Members that they could not reasonably avoid;

this substantial injury outweighed any benefits to competition.

       142.    Defendant College Board acted intentionally, knowingly and maliciously to

violate Illinois’ Consumer Fraud and Deceptive Business Practices Act and recklessly

disregarded Plaintiff’s and Illinois and Illinois Child Subclass Members’ rights.

       143.    As a direct and proximate result of Defendant College Board’s unfair, unlawful

and deceptive practices and acts, Plaintiff and Illinois and Illinois Child Subclass Members have

suffered and will continue to suffer injury, ascertainable losses of money or property and

monetary and non-monetary damages, including from the diminution in value of their personal

information.

       144.    Unless and until enjoined and restrained by order of this Court, Defendant

College Board’s wrongful conduct will continue to cause great and irreparable injury to Plaintiff

and Class Members in that the personal information sold by College Board can be viewed and

used by unauthorized persons. Plaintiff and Class Members have no adequate remedy at law for

the injuries in that a judgment for monetary damages will not end the invasion of privacy for

Plaintiff and Class Members or require College Board to retrieve the personal information from

the unauthorized entities to which it was sold.

       145.    Plaintiff and Illinois and Illinois Child Subclass Members seek all monetary and

non-monetary relief allowed by law, including damages, restitution, punitive damages, injunctive

relief and reasonable attorney’s fees and costs.




                                                   32
     Case: 1:19-cv-08068 Document #: 1 Filed: 12/10/19 Page 33 of 38 PageID #:1




                                         COUNT TEN
                ILLINOIS UNIFORM DECEPTIVE TRADE PRACTICES ACT
                                  815 ILCS § 510/1, et seq.
                     (On behalf the Illinois and Illinois Child Subclasses)

       146.     Plaintiff restates and realleges paragraphs 1 through 65, above, as though fully set

forth herein.

       147.     Defendant College Board is a “person” as defined by 815 ILCS § 510/1(5).

       148.     Defendant College Board engaged in deceptive trade practices in the conduct of

its business in violation of 815 ILCS § 510/2(a), including:

                a.      Advertising goods or services with intent not to sell them as advertised;

                        and

                b.      Engaging in conduct that creates a likelihood of confusion or

                        misunderstanding.

       149.     Defendants’ deceptive trade practices include:

                a.      Misrepresenting in Defendant College Board’s publications titled “Our

                        Commitment to Student Data Privacy” and “Data Privacy Overview” that

                        it did not sell student data or information;

                b.      Making it appear as if participation in Student Search Service was

                        voluntary while proactively engaging in conduct Defendant College Board

                        knew would lead to students’ participation, such as:

                      i.      “Strongly recommend[ing]” in the Student Answer Sheet Instructions

                              to the PSAT/NMSQT and PSAT 10 that students answer all of the

                              Student Search Service questions under the false pretense that

                              provision of the information “[g]uide[s] your counselors in helping

                              you plan your future”;

                                                  33
Case: 1:19-cv-08068 Document #: 1 Filed: 12/10/19 Page 34 of 38 PageID #:1




              ii.      Directing AP Exam proctors and teachers in a document titled “AP

                       Preadministration Instructions” to “[e]ncourage your students to

                       answer ‘Yes’” to the question regarding whether students want to

                       participate in Student Search Service;

             iii.      Directing PSAT/NMSQT and PSAT 10 exam proctors and teachers in

                       written materials provided by Defendant College Board in connection

                       with the administration of the exams to provide instructions regarding

                       Student Search Service that falsely made it appear as if declining to

                       participate in the service could lead to dire consequences, such as

                       missing out on financial aid opportunities; and

             iv.       Preying on students’ hopes and fears by making it appear that

                       providing the information could assist with college acceptance and

                       financial aid while not providing the information would be detrimental

                       to those goals – when in fact, neither scenario was true; and

        c.          Concealing from students that Defendant College Board’s true purpose in

                    obtaining the personal information was to sell it to third party

                    organizations in order to increase its already substantial revenues.

        d.          Failing to comply with common law and statutory duties pertaining to the

                    sale of Plaintiff’s and Illinois and Illinois Child Subclass Members’

                    personal information, including duties imposed by ISSRA, 105 ILCS §

                    10/6; the Right of Privacy Act, 765 ILCS § 1075/30; the Children’s

                    Privacy Protection Act, 325 ILCS § 17/10; and the Illinois Consumer

                    Fraud and Deceptive Business Practices Act, 815 ILCS § 505/2; and



                                             34
     Case: 1:19-cv-08068 Document #: 1 Filed: 12/10/19 Page 35 of 38 PageID #:1




               e.     Omitting, suppressing and concealing the material fact that they did not

                      comply with common law and statutory duties pertaining to the sale of

                      Plaintiff’s and Illinois and Illinois Child Subclass Members personal

                      information, including duties imposed by ISSRA, 105 ILCS § 10/6; the

                      Right of Privacy Act, 765 ILCS § 1075/30; the Children’s Privacy

                      Protection Act, 325 ILCS § 17/10; and the Illinois Consumer Fraud and

                      Deceptive Business Practices Act, 815 ILCS § 505/2.

       150.    Defendant College Board’s representations and omissions were material because

they were likely to deceive reasonable persons about College Board’s use of personal

information.

       151.    The above unfair and deceptive practices and acts by Defendant College Board

were immoral, unethical, oppressive and unscrupulous. These acts caused substantial injury to

Plaintiff and members of the Illinois and Illinois Child Subclasses that they could not reasonably

avoid; this substantial injury outweighed any benefits to competition.

       152.    As a direct and proximate result of Defendant College Board’s unfair, unlawful

and deceptive trade practices, Plaintiff and members of the Illinois and Illinois Child Subclasses

have suffered and will continue to suffer injury, ascertainable losses of money or property and

monetary and non-monetary damages, including from the diminution in value of their personal

information.

       153.    Unless and until enjoined and restrained by order of this Court, Defendant

College Board’s wrongful conduct will continue to cause great and irreparable injury to Plaintiff

and Class Members in that the personal information sold by College Board can be viewed and

used by unauthorized persons. Plaintiff and Class Members have no adequate remedy at law for



                                                35
     Case: 1:19-cv-08068 Document #: 1 Filed: 12/10/19 Page 36 of 38 PageID #:1




the injuries in that a judgment for monetary damages will not end the invasion of privacy for

Plaintiffs and Class Members or require College Board to retrieve the personal information from

the unauthorized entities to which it was sold.

       154.     Plaintiff and members of the Illinois and Illinois Child Subclasses seek all

monetary and non-monetary relief allowed by law, including damages, restitution, punitive

damages, injunctive relief and reasonable attorney’s fees and costs.

                                       COUNT ELEVEN
                                     INJUNCTIVE RELIEF
                                    (On behalf of all Classes)

       155.     Plaintiff restates and realleges paragraphs 1 through 65, above, as though fully set

forth herein.

       156.     Plaintiff and Class Members have clear and ascertainable rights in need of

protection – namely: (a) the right to have Defendant College Board specifically perform the

terms of its express contracts; (b) the right to have College Board abide by its obligations under

ISSRA; and (c) the right to privacy.

       157.     Plaintiff and Class Members have no adequate remedy at law because a legal

remedy cannot retrieve the personal information and school student records that Defendant

College Board unlawfully sold, released, transferred, disclosed and disseminated to third parties

and cannot end the invasion of privacy caused by College Board’s conduct.

       158.     Plaintiff and Class Members will suffer irreparable harm, as alleged herein, from

Defendant College Board if its conduct is not so restrained, requiring injunctive relief.

       159.     Plaintiff and Class Members are likely to succeed on the merits because, as

alleged herein, Defendant College Board unlawfully sold, released, transferred, disclosed and




                                                  36
      Case: 1:19-cv-08068 Document #: 1 Filed: 12/10/19 Page 37 of 38 PageID #:1




disseminated students’ personal information and school student records despite being prohibited

from doing so.

          160.   Plaintiff and Class Members seek injunctive relief: (a) barring Defendant College

Board from any further sales of Plaintiff’s and Class Members’ personal information and school

student records; (b) barring College Board from continuing to engage in its unlawful business

practices, as alleged herein; and (c) requiring College Board to specifically perform the terms of

its express contracts which require the retrieval of all personal information sold to third parties.

                                      PRAYER FOR RELIEF

          WHEREFORE, Plaintiff Mark S., on behalf of himself and as parent and guardian of his

minor child, A.S., and on behalf of the Classes, respectfully seeks from the Court the following

relief:

                 a.   Certification of the Classes as requested herein;

                 b.   Appointment of Plaintiff as Class representative and his undersigned counsel

                      as Class counsel;

                 c.   Award Plaintiff and members of the proposed Classes damages, including

                      statutory and punitive damages;

                 d.   Award Plaintiff and members of the proposed Classes equitable, injunctive

                      and declaratory relief, including the enjoining of Defendant College Board

                      from selling students’ personal information; from releasing, transferring,

                      disclosing and disseminating school student records; from continuing its

                      unlawful business practices, as alleged herein; and requiring specific

                      performance of its contractual agreements;




                                                  37
     Case: 1:19-cv-08068 Document #: 1 Filed: 12/10/19 Page 38 of 38 PageID #:1




              e.   Award Plaintiff and members of the proposed Classes pre-judgment and

                   post-judgment interest as permitted by law;

              f.   Award Plaintiff and members of the proposed Classes reasonable attorneys’

                   fees and costs of suit, including expert witness fees; and

              g.   Award Plaintiffs and members of the proposed Classes any further relief the

                   Court deems proper.

                                 DEMAND FOR JURY TRIAL

       Plaintiff demands a jury trial on all claims so triable.

Dated: December 10, 2019

                                                      Respectfully submitted,

                                                      /s/ Scott R. Drury
                                                      SCOTT R. DRURY

Michael Kanovitz
Scott R. Drury
LOEVY & LOEVY
311 N. Aberdeen, 3rd Floor
Chicago, Illinois 60607
312.243.5900
mike@loevy.com
drury@loevy.com




                                                 38
